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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )           4:03CR3062
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )           MEMORANDUM
                                             )           AND ORDER
ASHLEY DANIELLE GALLES,                      )
                                             )
                     Defendant.              )

      This matter comes on to consider the government’s request for hearing on Rule 35(b)
motion (filing 165). Having considered the matter,

       IT IS ORDERED that:

       (1)    The government’s request for hearing on Rule 35(b) motion (filing 165) is
granted;

       (2)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 158) has been set before the undersigned United States district judge at
1:00 p.m., Wednesday, September 21, 2005, in Courtroom No. 1, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska;

       (3)   At the request of the defendant through her counsel, and with the agreement
of the government, the defendant may be absent from the hearing on the Rule 35 motion;

       (4)    The Marshal is directed not to return the defendant to the district; and

       (5)    The defendant is held to have waived her right to be present.

       August 30, 2005.                          BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
